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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ETROCHOICE HOLDINGS, INC.,

640 Freedom Business Center Drive, * CIVIL ACTION
King of Prussia, Pennsylvania 19406.
Plaintiff, "No,
~- against -
_ COMPL
FRANCIS §. OROBONO, JR., POMPLAINT
1415 Allan Lane
West Chester,.Pennsylvania 19380, ° JURY TRIAL DEMANDED:

COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

Plaintiff PetroChoice. Holdings, Inc, (“PetroChoice”), by and through its undersigned
attomeys, alleges as follows:

NATURE OF THE ACTION

‘L. This action arises from Defendant Francis “Fran” Orobono, Jr.’s unauthorized
access to PetroChoice’s computer network to steal and misappropriate PetroChoice’s trade
secrets and confidential and proprietary information to. wrongfully, unlawfully, and unfairly
compete with PetroChoice, Defendant’s former employer.

2.. Defendant used PetroChoice’s trade secrets and confidential and proprietary
information to leverage an employment opportunity with Jack Williams Tire Co. Inc. (“TWT”), a
long-standing customer of PetroChoice, and to devise a scheme whereby Defendant can steal
accounts away from PetroChoice’s lucrative chemical distribution business that PetroChoice had

refused to sell to JWT.

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3. Defendant’s wrongful actions resulted in, among other things, (a) the. loss of at
least one of PetroChoice’s largest accounts (that included distribution to six automotive
dealerships) and related revenue; (b) the transformation of JWT into .a direct competitor,
resulting in significant lost business and revenue; and. (c) significant.economic and reputational
damages to PetroChoice. The damages that Defendant has caused to PetroChoice are ongoing
and injunctive relief is necessary to prevent continued harm to PetroChoice.

4, Plaintiff brings this action to enjoin Defendant from his ongoing use of
PetroChoice’s confidential and proprietary information and trade secrets to unfairly compete
with. PetroChoice and for damages resulting from Defendant’s numerous breaches and tortious
acts.

PARTIES

5. Plaintiff PetroChoice,:a Delaware corporation, is a distributor and manufacturer
that. provides petroleum and ancillary products and services for a variety of customers,
businesses and industries, including lubricants, fuels and chemicals. PetroChoice has. over 50
offices, primarily between the Midwest:and East Coast, and provides services and products in 32
states, including in and throughout the State of Pennsylvania: Its principal place of business is in
King of Prussia, Montgomery County, Pennsylvania.

6. Defendant Francis Orobono, Jr. is an individual, and at all times relevant to this
matter a citizen of the State of Pennsylvania. Defendant was the former Vice President of
Wholesale at PetroChoice, ‘and is now employed by JWT, a Pennsylvania corporation whose
principal place of business is Avoca, Pennsylvania. Defendant’s domicile is located at 1415

Allan Lane, West Chester, Chester County; Pennsylvania 193 80.

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JURISDICTION AND VENUE

7. This Court has federal. question jurisdiction pursuant to 28 U.S.C. § 1331 because
this.action alleges violations of federal statutes, including the Computer Fraud.and Abuse Act
(18 U.S.C. § 1030, ef seq.), and the Defend Trade Secrets Act (18 U.S.C: § 1836, ef seq.).

8, This Court has supplemental jurisdiction over PetroChoice’s state-law claims
pursuant to 28 U.S.C. § 1367 because they are so related to PetroChoice’s federal claims that
they form part of the same case or controversy under Article III of the United States.
Constitution.

9. This Court has personal jurisdiction over Defendant, who is domiciled in Chester
County, Pennsylvania.

10. Defendant's unlawful and-tortious activities that give rise to this action occurred
primatily in the Commonwealth of Pennsylvania.

11. Venue is ‘proper in this Court pursuant to 28 U.S.C, § 1391(b)(1) and (2). As
stated above, Defendant resides in Chester County, and a substantial part of the events. giving
tise to the claims. occurred within the counties comprising the Eastern District of Pennsylvania,
including Montgomery County: Plaintiff incorporates by reference: the facts and allegations
contained herein as factual support for Plaintiff's claim for venue.

FACTS
PctroChoice
12. PetroChoice was founded in Riddlesburg, Pénnsylvania as Tri-County: Petroleum

in 1969, initially as a heating oil company, and has expanded. to become the largest distributor of

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consumable. commercial, industrial, and passenger vehicle lubricants and ancillary products in
the Mid-Atlantic, Southeast, Upper Midwest and near West regions of the United States,

13. Now headquartered in King of Prussia, Pennsylvania, PetroChoice serves a
divetse set of customers across a range of industries including original equipment manufacturing,
off-highway construction, surface mining, energy, metal working, food processing and passenger
automotive, providing its customers with total fluids management for their lubricant needs.

14. PetroChoice distributes an extensive line of bulk products and a full range: of
packaged lubricants and ancillary products, including a wide range of Mobil products as. well as
its own brand of proprietary lubricants and a full line of Valvoline automotive chemical products
and services. In addition, PetroChoice offers its customers value-added services such.as customer
on-site tank systems, application engineering expertise, coolant program expertise, and expert.oil
analysis.

15. PetroChoice’s lubricant division includes: bulk distribution, lubrication services,
repair and maintenance, contamination control, and filtration, in addition to other services, and
sales.

16. — PetroChoice’s Automotive Chemical Division has been.developed over the course
of many years and substantial contribution of human and monetary resources which represent a
significant amount. of PetroChoice’s revenues.

17. PetroChoice has. actively pursued organic growth as well as growth through
acquisitions, and now operates sales, warehouses, and distribution centers throughout
Pennsylvania, employing 216 workers in the Commonwealth of Pennsylvania alone.

Defendant’s Employment Agreement and its Restrictive Covenants.

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18. Defendant became employed with Craft Oil Corporation (“Craft”), a Pennsylvania

corporation, on or about March 31, 2008, as Vice President.

19. As a condition of his employment with Craft, Defendant duly executed the
“Employment and Restrictive Covenant. Agreement” (“Employment Agreement”) on March 31,
2008. The Employment Agreement is attached hereto as “Exhibit 1.”

20.  PettoChoice acquired Craft Oil Corporation in 2013-and became the assignee of
the Employment Agreement.

21, PetroChoice retained Defendant as an employee of PetroChoice, and. Defendant

‘became Vice President of Sales. In that role, Defendant was assigned to oversee PetroChoice’s

Chemical and Equipment Services sales divisions.

22.  Defendant’s role in PetroChoice’s Chemical Division provided him -access to
extensive amounts of PetroChoice’s confidential and proprietary information and trade secrets
related to the:sale and marketing of chemical products, including lubricants.

23. Defendant accessed and regularly used PetroChoice’s trade secret. and
confidential information while. serving as the Vice President of Sales, a senior management
position..

24, From the beginning of his employment relationship with PetroChoice, Defendant
had a duty and an affirmative obligation to PetroChoice to protect PetroChoice’s trade secrets
and confidential information, including from wrongful competition.

25. The Employment Agreement contains restrictive covenants directly tied to

PetroChoice’s provision and protection. of: confidential information and trade secrets to

Defendant.

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26. Section 4 of the Employment Agreement contains a “Covenant Not To

Compete,” which states as follows:

(éd.)

4.1. Covenant Not To Compete. Executive covenants that, during his:employment by
the Company and for a period of twenty-four (24) months following immediately
thereafter (the “Restricted Period”), the Executive will not (except in his capacity as.an
employee of the Company) do any of the following, directly or indirectly in the Territory.
(as defined below):

4.1.1, .engage or participate in any Competing Business (as defined below);

4.1.2. become interested in (as owner, stockholder, lender, partner, co-venturer,

dinector, officer, employee, agent orconsultant) any person, firm, corporation, association
or-other entity engaged ina Competing Business; provided, however, notwithstanding the.
foregoing, Executive may hold up to 1% of the. outstanding securities of any class of any
publicly-traded securities of any company;

4.1.3. solicit, sell to or serve any customer or client or prospective customer or ¢lient’
(including, without imitation, soliciting such actual or prospective customers or clients of
the Company through other distributors or.suppliers) that is or was during the twenty-four
(24) months ending on the termination of his employment with the Company a customer
or client. of the Company or any of its affiliates for the purposes of providing or
delivering products or services which would be considered a Competing Business;

4.1.4. influence or attempt to influence any employee, consultant, supplier, licensor,
licensee, contractor, agent, strategic partner, distributor, customer or other person. to
terminate or modify any agreement, atrangement or course of dealing with the Company
or any of its affiliates; or . .

4.1.5. solicit for employment or employ .or retain (or arrange to have any other person

or entity employ or retain) any person who. has been employed or retained by the
Company orany of its affiliates within the preceding twenty-four (24) months.

27. The Employment Agreement defines “Competing Business” as.

(a) any: business that provides services or products to the motor oils and fubrication
industry and (b) any other business. or service that the Company develops or intends to
develop at the time of Executive’s termination of employment provided that Executive
has knowledge and involvement of any business or service that Company intends to
develop at any stage of development.

28. The Employment Agreement defines “Territory” as

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any counties that Company or its affiliates markets its products or services at the time of
executive’s termination of employment and shall include; but is not limited to the
following counties:

{a} Pennsylvania: Philadelphia, Bucks, Montgomery, Delaware, Chester, Lancaster,
Berks, York Lebanon, Adams, Dauphin, Cumberland, Tioga, Bradford, Susquehanna,
Wayne, Pike, Monroe; Lackawanna, Luzerne, Lehigh, Northampton, Carbon, Schuylkill,
Columbia, Northumberland, Snyder, Union, Montour, Lycoming, Center, Mifflin,
Clinton:

(b) New Jersey: Camden, Burlington, Cumberland, Mercer, Gloucester, Atlantic,.
Middlesex, Sussex, Salem, Essex, Cape May, Union, Warren, Monmouth, Bergen,
Morris, Ocean, Hunterdon, Passaic, Somerset;

(¢). Delaware: Kent, New Castle, Sussex, and;

(d) Maryland: Kent, Queen Anne’s, Caroline, Wicomico, Worchester, Somerset.

29. The Employment Agreement contains a “Confidentiality” provision that states, in
part, as follows:

4.2 Confidentiality. Executive recognizes and acknowledges that the Proprietary
Information (as defined below) is a valuable, special and unique asset of the business of
the Company and its affiliates. Asa result, both during the Term and thereafter,
Executive. will not, without the. prior written ‘consent of the Company, for any reason
divulge to any third-party or use for his own benefit, or for any purpose other than, the
exclusive benefit’ of -the Company and its affiliates; any Proprietary Information.

Notwithstanding the foregoing, if Executive is compelled to disclose Proprietary
Information by court order or other legal or regulatory process, io. the extent permitted: by
applicable law, he shall promptly so notify the Company so that.it may seek a protective

order or other assurance that confidential treatment of such Proprietary Information shall
be-affordeds and Exccutive shall reasonably cooperate with the Company. and its affiliates

in connection therewith.
30. The Employment Agreement defines “Proprietary Information” as meaning:

any and all proprietary information developed. or acquired by:the Company or any of its
affiliates that has not been specifically authorized to be’ disclosed. Such Proprietary
Information shall.include, but shall not be limited to, the following items and information
relating to the following items: (a) all intellectual property and proprietary rights of the
Company (including, without limitation, the Intellectual Property), (b) computer codes
and instructions, ‘processing systems and techniques, inputs and outputs (regardless of the
media on which stored or located) anid hardware and software configurations, designs,
architecture arid interfaces, (c) business’ research, studies, procedures and costs, (d)
financial data, (e) distribution methods, (f) marketing data, methods, plans and efforts, (g)
the identities and sources of mailing and telemarketing lists, (h) the identities of actual
and prospective suppliers, (i) the term of contracts.and agreements with, the néeds: and.

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requirements of, and the: Company’s or its affiliates’ course of dealing with, actual or
prospective. ‘suppliers, ()- personnel information, (k) customer and vendor credit.
information, and (1) information received from third parties subject to obligations of non-
disclosure or non-use, Failure by the Company or its: affiliates to mark any of the
Proprietary Information as. confidential or proprietary shall not affect its status as
Proprietary Information. Notwithstanding the preceding, information known to the’
public, shall be excluded from the definition of Proprietary Information.

31. The Employment Agreement also provides for the protection of PetroChoice’s
proprietary information, and provides as. follows:

43.1. Proprietary Information. All right, title and interest in and to Proprietary.
Information will be and remain the sole and exclusive property of the: Company and its
affiliates. Executive will not: remove. from the Company’s or its -affiliates” offices or
premises any documents, records, notebooks, files, correspondence, reports, memoranda
or similar materials of ot containing Proprietary Information, or other materials. or
property of any kind belonging to the Company or its affiliates unless necessary or
appropriate in the performance of his duties to the Company and its affiliates. If
Executive removes such materials or property. in the performance of his duties, he will
return such materials or property promptly after the removal has served its purpose.
Executive will not make, retain, remove and/or distribute any copies of such materials or
property, or:-divulge to any third person the nature of and/or contents of such materials or
property, except to the extent necessary to satisfy contractual obligations of the Company
or its affiliates or to perform his duties on behalf of the Company and its affiliates: Upon.
termination of Executive’s: employment. with the Company, he will leave with the
Company and its affiliates. or promptly réturn to the Company and its affiliates all
originals and copies of such materials or property then in fiis possession.

32. Section 4 of the Employment. Agreement contains an “Acknowledgements”
provision whereby Defendant:

acknowledges that the Restrictive: Covenants are’ reasonable and necessary to protect the
legitimate interests of the Company and its affiliates, that the duration and geographic.

scope of the Restrictive Covenants are reasonable given the nature of this Agreement and

the position Executive holds within the Company, and that the Company would not enter

into this. Agreement. or otherwise employ or continue to employ Executive unless
Executive agrées to be bound by the Restrictive Covenants set forth i in this Section 4.

33. As shown above, beginning in 2008, Defendant agreed to and was fully aware of

his‘express obligation to, among other things, protect Craft’s and then PetroChoice’s. confidential

information and. trade secrets, and to refrain from unfairly competing with PetroChoice, and to.

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refrain from influencing any customer to terminate or modify its course of dealing with
PetroChoice,
The Securities Rollover Agreement

34, Defendant’s duty to protect PetroChoice’s trade secrets and confidential
information was also confirmed when Defendant executed the Securities Rollover Agreement.

35. On or about August 21, 2015, Defendant and Stryker Topco, L.P. (“Stryker”)
executed the Securities Rollover Agreement (“Rollover Agreement”), which provides that
Defendant would be-entitled to exchange shares from the non-surviving entity of a merger for a
number of the. surviving entity’s Class A Units, in exchange for agreeing not to engage in
competitive activity as defined in the Rollover Agreement. The: Securities Rollover Agreement.
is attached hereto as “Exhibit 2.”

36. Defendant would not haye been offered an opportunity to participate in the

Rollover Agreement. but for his employment with PetroChoice because it was inextricably

related to Detendant’s employment relationship with PetroChoice.

37. PetroChoice became a wholly owned subsidiary of Stryker following ‘the:

aforementioned merger and thus an intended beneficiary of the Rollover Agreement.

38. Specifically, the Rollover Agreement permitted PetroChoice: to repurchase the

‘rollover securities if Defendant engages in competitive activity. Section 4(a) of the Rollover

Agreement states that, “[i]n the event of the termination of any Rollover Investor's employment:
with the Partnership or any of its Subsidiaries for any réason of no reason, the Rollover
Securities held by such Rollover Investor ... . will be subject to repurchase. . .”

39, Section 4(a)(i) of the Rollover Agreement states:

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The purchase price for each Rollover Security will be the Fair Market Value of each such
Rollover Security; provided that if . . . (B} such Rollover Investor has previously
Participated or subsequently Participates in a Competitive Activity . . . the purchase price
for-each such Rollover. Security will ‘be the lower. of the Fair Market Value of each such
Rollover Security and ‘the Original Cost of each such Rollover Security (which such
Rollover Investor acknowledges may be zero),

40. Competitive activity is defined in the Rollover Agreement as follows:

“Competitive Activity” shall, with respect to a. Rollover Investor, have the meaning set
forth in any written employment agreement between thé Partnership or any subsidiary of
the. Partnership and ‘such Rollover Investor, or, in the absence of any such written
agreement or in the absence of a-term in. such an agreement. that defines “competitive
activity” (or a term of similar. meaning) for purposes of such agreement, shall mean such
Rollover Investor, directly or indirectly, for himself or herself or for any other Person,

Participating in any Competitive Business; provided that the passive ownership by such
Rollover Investor of not more than two percent (2%) of the outstanding shares of any
class of capital stock of a corporation which is publicly traded on a national securities
exchange will not be deemed to be a Competitive Activity, so long as such Rollover
Investor is not otherwise Participating in the business of such corporation.

41. Competitive business is defined in the Rollover Agreement as “any business.
engaged in by the Partnership of any of its Subsidiaries as of the Termination date.”
42. Participate is defined in the Rollover Agreement as follows:

“Participate” (and the correlative terms “Participating” and “Participation”) ‘includes any
direct or indirect.ownership-interest:in any enterprise or participation in the management
of such enterprise, whether as an officer, director, employee, partner, sole proprietor,

agent, represetitative, independent contractor, consultant, ‘executive, franchisor;
franchisee, creditor, owner or otherwise,

The Management Equity Agreement and its Restrictive Covenants

43, As a result of a series of corporate transactions, on or about April 11, 2016,
Defendant and Stryker executed the Management Equity Agreement (“Equity Agreement”),
which provides that Defendant would be entitled to Class B: Unit (Executive) shares in Stryker
pursuant to a vesting schedule during his employment. with PetroChoice, in exchange for
agreeing to certain restrictive covenants. The Equity Agreement is attached hereto as “Exhibit

3.”

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Agreement but for his. employment with PetroChoice because it was inextricably related to

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Defendant*s employment relationship with PetroChoice.

45. As noted earlier, PetroChoice is an affiliate of Stryker.and thus an intended third-

party beneficiary of the Equity Agreement.

46. The Equity Agreement confers standing on third-party: beneficiaries and Stryker

affiliates to enforce that agreement, as follows:

Third-Pa y. Beneficiaries. Certain provisions of this Agreement areentered into for the
benefit of and shall be enforceable by the Company’s Subsidiaries and Affiliates and the.
Golden Gate Investors as provided herein. Executive acknowledges and agrees that each

   

Subsidiary of the Company as of the Effective Date (each, an “ED Sub”) is an express

third-party beneficiary of Section 6 of this Agreement and is entitled to enforce such
Section of this Agreement against Executive as though such-ED Sub was a party to this
Agreement, whether or not at the time of enforcement: such ED Sub is’still a Subsidiary
of the Company; provided that in connection with the sale of any ED Sub, the Company
may unilaterally elect to revoke the third party beneficiary status of such ED Sub:

47, The restrictive covenants in the Equity Agreement are set forth in Section 6.

48. Defendants duty to keep. PetroChoice’s trade secret and confidential information

confidential was again confirmed in the Equity Agreement.

49. The Equity Agreement contains a “Confidentiality” provision that states as

follows:

(a) Confidentiality. During the course of Executive’s employment with the Company or
any of its Subsidiaries or Affiliates, Executive will learn confidential information on
behalf of the Company Group. Executive agrees that Executive shall not, directly or’
indirectly, use, make available, sell, disclose or otherwise. communicate to-any person,

other than in the course of Executive’s assigned duties and for the benefit of the
Company Group, either during the period of Executive’s employment or at any time
thereafter, any business and technical information or trade secrets, nonpublic,. proprietary
or confidential information, knowledge or data relating to the Company or ‘any of its
Subsidiaries or Affiliates, or received from third parties subject to a duty on the
Compaiy’s and. its Subsidiaries’ and Affiliates’ part to maintain the confi identiality: of
such information and to use it only for certain limited purposes, in each case which shall
have been obtained by Executive during Executive’s employment by the Company.or its

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Defendant would not have been offered an opportunity to participate in the Equity
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Subsidiaries ‘or Affiliates. The foregoing shall not apply to information that (i) was.
known to the public.prior to its. disclosure to. Executive; (ii) becomes generally known to
the public subsequent to disclosure to Executive. through no wrongful act of Executive or
any representative of Executive; or. (iii) Executive is required to disclose. by: applicable.
law, regulation or legal process (provided. that Executive provides the Company with
prior notice of the contemplated disclosure and cooperates with the Company at its
expense ‘in seeking a protective order or other appropriate protection of such
information).

50. The Equity Agreement defines the “Company Group” as Stryker “and any of its
Subsidiaries,” which includes PetroChoice.

51. The: Equity Agreement. contains a “Noncompetition” provisions which states as
follows:

(b) Noncompetition. Executive acknowledges that (i) Executive performs services of a
unique nature for the Company that are irreplaceable, and that Executive’s performance
of such services to a competing business will result in irreparable harm to the Company,
(ti) Executive has had and will continue to have access to tradé secrets and other
confidential information of the Company and its Affiliates, which, if disclosed, would
unfairly and inappropriately assist in competition against the Company ‘or any of its
Affiliates, (iii) in the course of Executive’s employment by a competitor, Executive
would inevitably use.or disclose such trade secrets and confidential information, (iv) the.
Company and its Affiliates have. substantial relationships with. their customers and
Executive has had and will continue to have access to these customers, (v) Executive has
received and will receive specialized training from the Company: and its Affiliates, (vi)
Executive. will generate. goodwill for.the Company and its Affiliates in the course of
Executive’s employment. and (vii).from time to time, Executive may acquire equity
interests in the Company. and/or its Affiliates. Accordingly, during the term of
Executive’s employment and for a period of. twenty-four (24) months thereafter,
Executive agrees that Executive will not Participate in a‘Competitive Activity.

52. | The Equity Agreement defines “Competitive Activity” as:

hav[ing]. the meaning set forth in any written employment. agreement between the
Company or any Subsidiary of the. Company and: Executive, or, in the absence of any
such written agreement or in the absence. of a.term.in such an agreement that defines
“competitive activity” (or a term of similar meaning) for purposes of such agreement,
shall mean Executive, directly or indirectly, for himself or herself or for any other Person,
Participating in. any Competitive Business; provided that the passive ownership by
Executive of not more than two. percent (2%) of the outstanding shares of any class of
capital stock of a corporation.which is publicly traded on a national ‘securities. exchange
will not be deemed to be.a Competitive Activity, so long as Executive is not otherwise
Participating in the business of such corporation.

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53, The Equity Agreement defines “Competitive Business” as “the Business or any
other business engaged in by the Company or any of its Subsidiaries as of the Termination
Date.”

54. “Termination Date” is defined as “the date on which Executive ceases to be.
employed by the Company or its Subsidiaries for any reason or‘no teason.”

55. The Equity Agreement contains a “Nonsolicitation; Noninterference”: provision
which states as follows:

(c) Nonsolicitation; Noninterference.

(i) During Executive’s ‘employment with the Company or any of its Subsidiaries. or
Affiliates and for a period of twenty-four (24) months thereafter; Executive agrees that
Executive: shall not, except in the furtherance: of the duties of Executive’s employment,
directly or indirectly, individually-or on behalf of any other person, firm, corporation. or
other entity, solicit, aid of induce any individual or entity that is, or was during the twelve
(12) month: period immediately ‘prior to the Termination Date, a customer of the
Company or any of its Subsidiaries or Affiliates to purchase goods or services then sold
by the Company or. any of its Subsidiaries or Affiliates from another person, firm,
corporation or other entity or:assist or aid any other persons or entity in identifying: or
soliciting any such customer.

(ii) During Executive’s employment with the Company or any of its Subsidiaries .or
Affiliates and for a period of twenty-four (24) months thereafter, Executive agrees that
Executive shall not, except in the furtherance of the duties of Executive’s employment,

directly or indirectly, individually or on behalf of any other person, firm, corporation or
other entity, (A) solicit, aid or induce any employee, representative or agent of the

Company or any of its Subsidiaries or Affiliates to leave such employment or retention or
‘to accept employment with or render services to of with any other person, firm,
corporation ‘or other entity unaffiliated with the. Company: or hire or retain any such
employee, representative or agent, or take arly action to materially. assist or aid any other
person, firm, corporation or. other entity in identifying, hiring or soliciting any. such
employee, representative or agent, or (B) interfere, or aid or induce any other person. or
entity in interfering, with the relationship between the Company or any of its Subsidiaries
or Affiliates and any of their respective vendors, joint venturers or licensors. Any person
described in this Section 6(c)(ii) shall be: deemed covered by this Section while so
employed-or retained and for a period of twelve (12) months thereafter.

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56. The Equity Agreement also provides for the return of Company property upon the
cessation of Defendant’s employment with the Company Group, including the employment
relationship with Defendant:

(f} Return of Company Property. On the Termination Date (or at any time prior thereto at.
the Company’s request), Executive shall return all property belonging to the Company:
or its affiliates (including, but not limited to, any Company-provided laptops, computers,
cell phones, wireless electronic: mail devices or other equipment, or documents and.
property belonging to the Company).

‘37. Section 6 of the Equity Agreement contains an “Acknowledgements” provision,

as follows:

(g) Acknowledgements. Executive hereby acknowledges and agrees that the covenants
set forth in Section 6{a) through Section 6(f) (collectively, such covenants, the
“Restrictive Covenants”) are an integral part of this Agreement and but for the Restrictive
Covenants, the Company would not enter into this Agreement:and issue the Vesting Units:
to Executive. Executive further agrees that (i) the Restrictive.Covenants do not preclude
Executive from earning: a livelihood, nor do they unreasonably impose limitations. on
Executive’s ability to earn a living; (ii) the potential harm to the Company Group of the
non-enforcement of any provision of the Restrictive Covenants outweighs any potential
harm ‘to Executive of its enforcement by injunction or otherwise; (iii) the terms.of the.
Restrictive Covenants. are reasonable and narrowly tailored to protect the Company
Group’s protectable. interests in its confidential information. and other ‘protectable.
business relationships; and (iv). Executive. has carefully read this Agreement and
consulted with legal counsel of Executive’s choosing regarding its contents, has given

careful consideration to the restraints imposed upon Executive by this Agreement
including ‘the Restrictive Covenants incorporated herein, and is in full accord as to their

necessity for the reasonable and proper: protection of confidential and proprietary
information of the Company Group now existing or to be developed in. the. future.
Executive expréssly acknowledges and agrees that each and every restraint imposed-by

the Restrictive Covenants is reasonable with respect to subject matter, scope and time
period. .

58: The Equity Agreement contains an “Enforcement” clause concerning the violation

of Section 6 specifically, in relevant part as follows:

(h) Enforcement. Executive agrees and acknowledges that:

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(ii) Because Executive’s services ate unique and because Executive has access to
confidential information and customer and other relationships, the parties hereto agree
that money damages would be an inadequate remedy for any breach of this. Agreement,
including this Section 6, Therefore, Executive agrees that in the event of a breach or
threatened breach of this Agreement, including this Section 6, the Company, it
Subsidiaries and/or their respective ‘successors shall be entitled to specific performance
and/or injunctive or other relief without posting a bond or other security.

The Separation Agreement and its Restrictive Covenants

59. Defendant’s employment with PetroChoice ended on or about September 1, 2018.

60. On that date, Defendant executed-a “Separation Agreement-and General Release”
(“Separation Agreement”).

61. The Separation Agreement memorializes Defendant’s separation from
employment with PetroChoice, and his new status as an independent consultant for PetroChoice.
The Separation Agreement, with the Consulting Agreement, ts attached hereto as “Exhibit 4,”

62. Without any requirement to do so, PetroChoice offered Defendant a generous
severance package in exchange for a release of liability and his compliance with certain
restrictive covenants.

63. The Separation. Agreement contains:a “Return of Property; Non-Entry” provision.
that states-as follows:

RETURN OF PROPERTY; NON-ENTRY: You agree to return immediately all of the

Company Group’s property in your custody, possession or control, including but not

limited to any security access cards, car decals for accéss to the Company’s. parking lot,

keys, personal computers, computer disks, cellular telephones, dvds, cds, memory cards,

hard drives, flash drives, laptops, tablets, smartphones, work files, memoranda, notes,

records and other:documents made or compiled by: you or made available to. you during

the term of your employment an related to that employment. You further agree not to

enter any premises of the Company Group or access any of its phone, computer,

electronic or other systems without: the express written prior permission. of the
Company’s:chief executive. officer or Board of Directors.

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64. Thus, as part of the Separation Agreement, Defendant agreed not to access:
PetroChoice’s computer system without express prior written. permission from PetroChoice’s
-CEO or Board of Directors.

65. Additionally, and more importantly, the Restrictive Covenants in the Employment
Agreement.and Equity Agreement, as described above, were specifically incorporated into the.
Separation Agreement. The Separation Agreement sets forth the restrictive covenants as follows:

CONFIDENTIAL INFORMATION; NO COMPETE; NO SOLICIATION; NO
DISPARAGEMENT: You acknowledge that you shall honor all confidentiality, non-.
compete, non-solicitation, non-hire and non-disparagement obligations with the. Company

Group to which you are subject, including without limitation, your obligations under the

Company’s. written. policies, and specifically including all restrictive covenant
_provisions contained in the [Employment Agreement], [Equity Agreement], Securities
Rollover Agreement signed by you and Stryker Topco, L.P. signed by you when Golden
Gate Capital purchased the Company and all of your obligations and restrictions as a
shareholder, if any; contained in the Stock and Asset Purchase Agreement-of Craft Oil
Services, LLC dated November 5, 2012. and all related documents thereto, all
collectively, the. “Restrictive Covenants.” If you enter into the Consulting Agreement
contemplated in. Paragraph ‘No, 1 of this Agreement, you agree that the. Restrictive
Covenants shall continue to remain in force during the term of the Consulting
Agreement in the same manner had you continued your employment with the
Company and, upon the termination of the Consulting Agreement for any reason, shall
apply in the post-consulting period in the saine manner and for the same time-period
as they would have.applied upon a termination of employment. You also agree that you
will not take, and since beginning employment with the Company have not taken, (i) any
actions that might harm the business interests of the Company or anyother Released
Party, (ii) any actions that violate any of the Restrictive Covenants, or (iii) amy corporate
or executive action on the. part of the Company Group. Additionally, you will not make
or cause to be made or condone the making of any statement, comment or other
communication, written or otherwise, that could constitute disparagement or criticism of,

or that could otherwise. be: considered to be derogatory or detrimental to, or otherwise
reflect adversely on, harm the reputation of, or encourage any adverse action against, the

Company or any of any. of the products or services of the Company. You acknowledge
that if you breach any of the Restrictive Covenants, any of the terms of this’ Paragraph,

and/or any other terms of this Agreement, the Company will sustain irreparable injury

and will not have an adequate remedy at law. As a result, you agree that in the event that
the Company determines that: you have: breached any of the Restrictive Covenants or any
of the terms of this Agreement, in addition to any other remedies the Company Group
may have available to it, the Company may immediately terminate this Agreement and
seek disgorgement of all monies paid to you under this Agreement.

(emphasis supplied).

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66. At the same time the Separation Agreement was executed, Defendant and
PetroChoice entered into the Consulting Agreement, which provided that Defendant would be an.
independent contractor of, and provide discrete services, for PetroChoice for.a limited period of
time,

67. As noted above in the quoted text of Paragraph 65, Defendant was obligated to
abide by the same Restrictive Covenants set forth in the Employment Agreement, supra, during.
his.tenure as a consultant.

68. Specifically, the Separation Agreement states, in part:

If you enter into. the Consulting Agreement . ... you agree that the Restrictive

Covenants shall continue to remain in force during the term of the Consulting

Agreement in the same manner had you continued your employment with the

Company and, upon the termination of the Consulting Agreement for any reason,

shall apply. in the post-consulting period in the samé manner and for the same

time-period as they would have applied upon a termination of employment,

69. Upon.information and belief, after departing from PetroChoice’s employ but
‘while. acting as PetroChoice’s consultant, Defendant became. an employee of JWT sometime in
late 2018 or early:2019.

70. At the time Defendant became employed by JWT, Defendant failed to apprise

PetroChoice of this new relationship.

Defendant’s Breach of the Restrictive Covenants and Double Dealing Forced PetroChoice.
to Divest its North Eastern Equipment Services Division to JWT.

71, Prior to Defendant's separation from PetroChoice, PetroChoice was considering
divesting its North Eastern Equipment Services. Division (“ESD”) and offered to sell Defendant

the ESD if he could secure financing and close. the transaction within’six months.

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72. During this initial negotiation, Defendant failed to disclose his relationship with
JWT, a. significant PetroChoice customer:

73. While a PetroChoice employee and later-as an independent contractor, Defendant
repeatedly represented to’ PetroChoice that he had ‘the personal financial means to purchase the
ESD..

74. During the negotiations for the purchase of the ESD, Defendant represented to
PetroChoice that. he also had ‘a silent. partner in the. transaction. Defendant refused to share.
information about the silent partner when PetroChoice inquired.

75. As negotiations progressed, Defendant asked PetroChoice to. also sell its highly
lucrative Chemical Division, a request that PetroChoice emphatically declined because it was a
profitable and sustainable division and had a significant customer base.

76. At the time of the negotiations, JWT was a significant customer of PetroChoice..

77. At the time of the negotiations, and at all relevant times during Defendant’s
employment and contractor telationship with PetroChoice, Defendant knew of the significant
business relationship. between JWT and PetroChoice, including access to-.and knowledge of
PetroChoice’s. related trade. secret information, including pricing structure and ordering
‘specifications.

78. Despite PetroChoice’s ‘inquiries into the identity of the silent partner and
‘Defendant’s significant. knowledge of the business and financial relationship between
PetroChoice and JWT, Defendant .did-not reveal that he had partnered with JWT for the purposes

of the ESD transaction until late in the negotiations.

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79. IWTis arid was an important customer of PetroChoice and a significant source of
revenue, which was known by Defendant.

80. Because of the significant business and financial relationship between.
PetroChoice and JWT, and Defendant's extensive confidential knowledge of that relationship,
PetroChoice expressed hesitation in moving forward with divesting its ESD to JWT and
Defendant. PetroChoice was concerned that. Defendant would use confidential information
and/or trade. secrets to assist in undercutting PetroChoice’s negotiation position and obtain more
favorable deal terms for himself and JWT, or otherwise interfere with the established business
relationship between PetroChoice and JWT..

81. After the surprising, last-minute disclosure of the relationship between JWT and
Defendant, and JWT’s entry into the negotiations; JWT demanded that PetroChoice either sell
the ESD to JWT, with Defendant as manager on behalf of JWT, or JWT would cease-its business
relationship with PetroChoice and discontinue purchasing lubricants from PetroChoice.

82. At that point, PetroChoice. was faced with the prospect of losing a. valuable
customer and purchaser of its lubricants, a fact known by Defendant, who was now acting as an
‘agent of and/or in partnership with JWT, in breach of Defendant’s obligations to, among: other
things, not harm or interfere with PetroChoice’s business interests.

83. Because of the large financial. impact on its. business, PetroChoice had no. other
option. but to agree to the sale-of its ESD on unfavorable terms and at a considerable financial
disadvantage.

84. The parties closed the transaction on or about July 31, 2019.

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85. Effective August 1, 2019, PetroChoice: divested its northeast equipment and.
services assets to JWT, with Defendant serving as its managing executive.

86. Upon information and belief, Defendant’s concerted efforts and activities. to
undermine PetroChoice’s negotiating position was an interference of PetroChoice’s relationship
with JWT and violated numerous restrictive covenants to which he agreed set forth in. detail
above.

Defendant Surreptitiously Misappropriated PetroChoice’s Confidential and Proprietary
Information and Trade Secrets to Unfairly Compete Directly with PetroChoice.

87. During the course of his employment, Defendant frequently: and directly
interacted with PetroChoice’s customers and prospective customers, including JWT..

88. Part of Defendant’s job at PetroChoice was.to establish business relationships
with customer representatives who have authority to select and purchase the lubrication products
that PetroChoice sold, and oversee the entire Chemical and Equipment Services sales-divisions.

89. At the time Defendant began working with PetroChoice in 2013, it was.
distributing chemical products, including. lubricants, manufactured by Wynn Oil Company
(Wymnn’s”).

90. During its relationship with Wynn’s, PetroChoice and. Wynn’s exchanged
substantial amounts of proprietary and confidential information and trade secrets.

91. PetroChoice ceased its business relationship with Wynn’s and thereafter became

an exclusive seller of chemical products manufactured by Valvoline, Inc. (“Valvoline”).

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92. Throughout PetroChoice’s business relationship with Valvoline, PetroChoice and
Valvoline have exchanged substantial amounts of proprietary and confidential information and
trade secrets pursuant to a non-disclosure agreement.

93. As part of its new relationship with Valvoline, PetroChoice’s secured-access,
cloud-based computer network contains. confidential information regarding PetroChoice’s
pricing tor Wynn's and Valvoline’s. chemicals, lists of potential customers identified by
PetroChoice. as candidates to switch to Valvoline with PetroChoice, lists of customers that did
indeed switch to Valvoline, and other confidential information related to the PetroChoice’s
distribution of Wynn’s.and Valvoline’s chemicals.

94. This information and. material is treated as. confidential and trade secret by
PetroChoice.

95. — This information is accessible to PetroChoice employees only though an internet-
based platform known as “Citrix” wherein an employee can log onto the system with valid
credentials provided by PetroChoice.

96. Although PetroChoice transitioned to Valvoline chemical products, Defendant
maintained a friendly: relationship with the Wynn’s corporate representatives throughout his
employment at PetroChoice-and as.a.contractor for PetroChoice,

97. Although PetroChoice terminated Defendant’s front-end Citrix access credentials
in. April; 2019 after the formal separation of Defendant’s employment with PetroChoice,
unbeknownst to PetroChoice, Defendant continued to utilize back-end access through Microsoft

365.

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98, Despite PetroChoice’s efforts to protect access. to its system and remoying
Defendant’s access, Defendant was able to circumvent such protections and ignored his removal
from PetroChoice’s system and his authorization to use. PetroChoice’s information, and made
unauthorized intrusions into PetroChoice’s computer systems.

99. Defendant's use of this back-end access to.Microsoft 365 was not authorized by
PetroChoice and was not necessary for, or related to, any. project assigned by PetroChoice to
Defendant pursuant to the indeperident contractor relationship.

100. Defendant had no legitimate business use.on behalf of PetroChoice for his access
to PetroChoice’s confidential and trade secret information.

101. Despite agreeing not to access PetroChoice’s computer system in the Separation
Agreement, and despite the generous severance package Defendant accepted from PetroChoice,
Defendant accessed,. without PetroChoice’s authorization or approval, PetroChoice’s system on
August 19th,.20th, 22nd, 23rd, 24th, and 25th in 2019.

102.. On or about August 24, 2019, only several days before Defendant’s consultancy:
period was'set to formally terminate, Defendant downloaded, without.authorization or approval

and without any. business-related purpose for.a PetroChoice assignment, over 5,000 files from

PetroChoice’s Citrix network,

103. Contained in Defendant’s massive download. were files related to, among other
items, (1) confidential profit-loss statements; (2) confidential information concerning Wynn’s
chemicals and PetroChoice’s sale of same; (3) confidential information conceming Valvoline
(such as-special incentive programs, business model, pricing, and customer lists); (4) confidential

customer relationship data (such as information on potential customer’s anticipated quantity of

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chemical products, potential customers that PetroChoice identified as candidates to switch from
Wynn's to: Valvoline with PetroChoice, PetroChoice’s top 25 customer list, national account.
contact information, fop prospective customer lists, and bids/proposals); (5) confidential,
historical sales data and historical sales strategies; and (6) PetroChoice’s marketing plans and:
proposals.

104. PetroChoice’s investigation into the matter revealed that Defendant’ had used
search queries to locate and wrongfully obtain specific confidential information and trade secrets
within Citrix.

105. PetroChoice’s Information Technology Department was alerted by email about
the massive download by Defendant, and his back-end access was immediately terminated.

106. Defendant then attempted unsuccessfully. to login to PetroChoice’s computer
system nine other times between August 29, 2019 and August 30, 2019.

107. With the confidential information and trade secrets stolen from PetroChoice,
Defendant began to unscrupulously target PetroChoice*s chemical customers on behalf of JWT
and/or directed other JWT employees.to target certain accounts,

108. Approximately two months after the mass-download event, in October, 2019, the.
Kennedy Group Dealership (“Kennedy”)—a large account with six individual dealerships
purchasing automotive chemical products from PetroChoice—ended its chemical. supply account
with PetroChoice.

109. Upon information and belief, and while in wrongful possession of PetroChoice’s
trade secret and confidential information, Defendant started distributing and soliciting chemicals

products on behalf of JWT and used the confidential information and trade secrets stolen from

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PetroChoice’s computer system to ‘initiate a business relationship on JWT’s behalf with Wynn’s
chemicals.

110. Wynn’s is Valvoline’s primary competitive supplier.

lil. Prior to Defendant’s employment, JWT had never engaged in the distribution of
automotive chemicals products, including dubricants.

112. Prior to Defendant’s employment, JWT had. never been competitive with
PetroChoice:and instead was a valued customer.

113. Specifically, as Vice President of Wholesale for JWT and with PetroChoice’s
misappropriated, confidential information and trade secrets, Defendant began wholesaling
Wynti’s chemicals by utilizing JWT’s wholesale tite customer channel.

114. Upon information and belief, .in addition to the customer lists contained in the
documents unlawfully downloaded by Defendant from PetroChoice’s secured network,
Defendant is also improperly utilizing customer lists provided to JWT that were intended for the
sole use of the ESD.

115. Upon information and belief, when PetroChoice made clear it would not sell its
lucrative Chemical Division to JWT, JWT entered the chemicals distribution market as a direct
competitor wholesaler at the: initiative and/or. involvement of Defendant, who was. wrongfully in
‘possession of PetroChoice’s trade secret and confidential information, and with Defendant's use
and possession of PetroChoice’s trade sécret and confidential information, secured the
substantial Kennedy account away from PetroChoice.

116. The loss of the large Kennedy account financially damaged PetroChoice and its

‘stream of revenue.

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117. Upon information and belief, additional PetroChoice customers have been and are
being targeted by Defendant to switch their chemical-product accounts from PetroChoice to
JWT.

118. Atall relevant times, Defendant was wrongfully in possession of PetroChoice’s
trade secret and confidential information.

119, Some of these customers aré not what one would think of'as “typical” chemical-
product customers, meaning that otie would have to have specialized knowledge or access to
confidential information to identify them as a chemical-products customer.

120. The-type of knowledge néeded to:secure these customers was and is’ known to
Defendant and ‘is included in the information Defendant: wrongfully downloaded. and. accessed
from PetroChoice..

121. In November 13, 2019, PetroChoice learned that: Wynn’s was soliciting its new
Wynn’s program to Outten Chevrolet (“Outten”), also a PetroChoice chemicals product
customer.

122. Upon information and belief, Wynn’s representatives admitted to representatives
of PetroChoice. that JWT is purchasing chemical products from Wynn’s. to sell in the
Commonwealth of Pennsylvania and perhaps other locations.

123. Upon information and belief and under the:wrongful leadership and orchestration
of Defendant, FWT is: now a direct competitor of PetroChoice in the automotive. chemicals
business.

124. This competitive endeavor, wrongfully led by Defendant, falls under the

definition of a “Competing Business” as used in the Employment Agreement’s Restrictive

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Covenants and incorporated in the Separation Agreement, and the definition of “Competitive
Activity” in the Equity Agreement’s Restrictive Covenants, which were also incorporated into
Detendant’s Separation Agreement with PetroChoice.

125. To date and while in wrongful possession of PetroChoice’s trade secret and
confidential information, Defendant continues. to target. PetroChoice’s current and potential
customers by unlawfully: utilizing and possessing confidential information and trade secrets
misappropriated by Defendant, causing actual damage and irreparable harm.

126. Additionally, upon information and belief, Defendant is intentionally confusing
PetroChoice’s current'and potential customers in the local automotive industry as.to the status of
PetroChoice’s. Chemical Division. For example, upon information and belief, Defendant has
given at least one presentation to a group of automotive dealers that misled dealers to believe that
PetroChoice. sold its Chemical Division to JWT along with its ESD.

127. Upon information. and belief, Defendant remains employed with JWT in a senior
executive role-as Vice President of Wholesale in JWT’s Pennsylvania office, continues to solicit
PetroChoice’s chemical-products. customers in violation of the Restrictive Covenants, and
continues to wrongfully possess PetroChoice’s trade secret and confidential information..

‘CAUSES OF ACTION
COUNT I |
Misappropriation of PetroChoice’s Trade Secrets Pursuant to the
Federal Defend Trade Secrets Act, £8 U.S.C. § 1831, et seq.
128. Plaintiff adopts and. incorporates: by reference the allégations set forth in the

preceding paragraphs above as if completely and fully set forth herein.

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129. By virtue of his position as a Vice President.and shareholder of PetroChoice,
Defendant had extensive access to PetroChoice’s confidential information that constitutes trade
secrets.

130. Defendant wrongfully obtained and retained Plaintiff's trade secrets as defined by
the Federal Defend Trade Secrets Act (“DTSA”), 18 U.S.C. § 1839(3), including but not limited
to: (I) confidential price and program information; (2) information concerning chemical.
companies distributed by PetroChoice; (3) information concerning PetroChoice’s financial
condition and performance, such as profit-loss statements and historical sales and strategy data;.
(4) customer lists and customer relationship management data; and (5) PetroChoice’s methods
and procedures for catrying out its chemical distribution business.

131. This information is not common knowledge to anyone outside of PetroChoice. It
is highly valuable to PetroChoice and would. provide competitors, including but not limited to
JWT, with an unfair competitive advantage over PetroChoice. It would take a considerable
amount of time, effort, and expense to duplicate this information without access to PetroChoice’s
confidential information and trade secrets.

132.. PetroChoice’s business advantage and value that it has earned through
development of its trade. secrets would ‘be: lost if the confidential information and trade. secrets
became known to PetroChoice’s competitors, including but not limited to JWT.

133. Plaintiff has made considerable efforts to prevent disclosure of PetroChoice’s
confidential information and trade secrets by, among other measures, limiting access to
confidential information and trade secrets to employees on a need-to-know basis and requiring

credentials before the confidential information and trade sectets can be accessed; asking its

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employees to execute confidentiality and non-disclosure agreements as. a condition of
employment; and maintaining a secured password-protected network.

134, Defendant had.a duty to keep PetroChoice’s. confidential information and. trade
secrets intact and not to use, exploit or disclose such information other than for the benefit of
PetroChoice.

135. Despite this, Defendant knowingly and willfully acquired, disclosed, and is
currently exploiting for his own and his current employer’s economic advantage, PetroChoice’s
confidential information and trade secrets, including but not limited to, confidential price and
program information; information concerning chemical companies distributed by PetroChoice
and the business relationship; information concerning PetroChoice’s financial condition and.
performance, such as. profit-loss statements and historical sales data; customer lists. and. customer
relationship management (CRM) data; and. PetroChoice’s methods and procedures for carrying
out its chemical distribution business.

136. Defendant’s separation. from employment and when he acted as a consultant,
Defendant wrongfully and without authorization removed PetroChoice’s confidential
information and trade secrets from PetroChoice’s cloud-based computer network ‘in violation of.
the Restrictive Covenants. Defendant is now an employee of JWT and, upon information and
belief, took the confidential information and trade secrets for the benefit of himself and JWT.

137. Acting for the benefit of himself and JWT, and to PetroChoice’s: detriment,
Defendant provided JWT with the benefit of PetroChoice’s confidential pricing and program

information related to. its distribution of chemicals, amongst. other confidential information and

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trade secrets, so JWT could then enter the chemical distribution market, led by Defendant, an
area in which JWT had not previously been involved,

138, Defendant has wrongfully. and knowingly possessed, acquired, and used
Plaintiff's. trade secrets, At the time of acquisition, possession and use, Defendant knew or had
reason to know that Plaintiffs trade’ secrets were acquired by improper means because
PetroChoice terminated his front-end access credentials and Defendant. knew the-trade secrets
and confidential information were not intended to. be shared with any person or entity. In
addition, at the time. of possession, acquisition, and use of PetroChoice’s trade secret and
confidential information, Defendant had no legitimate business use for such information to
benefit PetroChoice orto complete any assignment on behalf of PetroChoice.

139. Defendant’s acts identified herein, as well as other acts yet to be discovered,
constitute misappropriation of trade secrets under the DTSA.

140, As a direct result of Defendant’s: wrongdoing, Plaintiff has been damaged in an
amount to be determined at trial, but which cannot be compensated by money alone.

141. Defendant’s actions were committed knowingly, willfully and in conscious
disregard of Plaintiff's rights. Accordingly, Plaintiff is. entitled to recover actual and exemplary
damages, as well as.attorneys’ fees, in an amount to be determined at trial.

142. Plaintiff is also entitled to injunctive. relief against Defendant’ pursuant to 18

U:S.C. § 1836(3)(A).

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Misappropriation of PetroChoice’s Trade Secrets Pursuant to the:
Pennsylvania Uniform Trade Secrets Act

143, Plaintiff adopts and incorporates by reference the allegations. set forth in the

preceding paragraphs above-as if completely and fully set forth herein.

144. By virtue of his position asa Vice President and shareholder of PetroChoice,

Defendant had extensive access to PettoChoice’s confidential information that constitutes trade

secrets, as defined under Pennsylvania Uniform. Trade Secrets Act, 12 Pa. Cons. Stat. § 5302,

including: but not limited to: (1) confidential price and program information; (2) information
concerning chemical companies distributed. by PetroChoice; (3) information concerning
PetroChoice’s financial condition and performance, such as profit-loss statements and historical
sales data; (4) customer lists and customer relationship management data; and (5) PetroChoice’s
methods and procedures for carrying out its chemical distribution business,

148. This information is not common knowledge to anyone outside of PetroChoice. It
is highly valuable to PetroChoice and would provide PetroChoice competitors, including JWT
and Defendant, with an unfair competitive advantage over PetroChoice. It would take a
considerable amount of time,.effort, and expense to duplicate this information without access to
PetroChoice’s confidential information and trade secrets..

146. PetroChoice’s business advantage and economic value that it has earned through
development of its trade secrets would be lost if the. confidential information. and trade ‘secrets
became known to PetroChoice’s competitors, including JWT and Defendant.

147. Plaintiff has made considerable efforts to prevent disclosure of its confidential

information and trade secrets, including by clearly defining the nature and purpose. of

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confidential information in PetroChoice’s employee agreements, and by preventing unauthorized
access to the information by requiring access credentials.

148: Due to Defendant’s former role as an executive, shareholder, and consultant of
PetroChoice, Defendant was and is obliged to keep PetroChoice’s confidential information and.
trade secrets intact and not to possess, use, exploit-or disclose such information other than for the
benefit of PetroChoice.

149. Despite this, Defendant has knowingly and willfully acquired, possessed,
disclosed, and is currently exploiting for his own, and JWT’s, economic advantage,
PetroChoice’s confidential information and trade secrets, including but not limited to,
confidential price and program information; information concerning chemical companies
distributed by PetroChoice; information concerning PetroChoice’s financial condition and
performance, such as profit-loss statements and historical sales data; customer lists and-customer
relationship management data; and PetroChoice’s methods and procedures for carrying out its
chemical distribution business...

150. As alleged infra., upon his separation from employment with PetroChoice and
while: acting as a consultant, Defendant accessed PetroChoice’s computer: network. without.
authorization and. wrongfully removed PetroChoice’s confidential information and trade secrets
from PetroChoice’s cloud-based network and now wrongfully possesses such information and
materials. Defendant is-now JWT’s Vice President of Wholesale and operating and supervising a
competitive division of JWT and, upon information and belief, now wrongfully possesses. and
took the confidential information and trade secrets for the benefit and possibly at the direction of

JWT.

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iSi. Acting. for the benefit of himself and JWT, Defendant provided JWT.
PetroChoice’s confidential pricing and program information related to its distribution of
chemicals, amongst other confidential information and trade secrets,:so JWT could then enter the
chemical distribution market, led by Defendant, which it had not previously been involved with.

‘152. Given: the role of PetroChoice’s former employee, shareholder, and named
Defendant in this matter:and his wrongful acquisition and current possession of PetroChoice’s
trade sécret and confidential information, it is. inevitable that PetroChoice’s confidential
information and trade secrets will be put to unfair use.

153. Defendant’s acts identified herein, as well as other acts. yet to be discovered,
constitute misappropriation of trade secrets under 12'Pa. Cons. Stat. § 5302, et seq.

154. As a direct result of Defendant’s wrongdoing, Plaintiff has been damaged in an
amount to be determined at trial, but which cannot be compensated by money alone.

155. Defendant’s actions were committed knowingly, willfully and in conscious
disregard of Plaintiff's rights. Accordingly, Plaintiff is entitled to recover actual and exemplary
damages in an amount to be determined at trial and any and all attorneys’ fees-and costs of court.

156. Plaintiff is also entitled to injunctive relief against Defendant pursuant to 12 Pa.
Cons. Stat. Ann, § 5303.

COUNT III /
‘Violation of the Computer Fraud:and Abuse Act, 18. U.S.C. § 1030, et seq.

157. Plaintiff adopts and incorporates. by reference the. allegations set forth in the
‘preceding paragraphs above as if completely-and fully set forth herein.
158. Plaintiffs computers are involved in interstate and foreign commerce and

communication, and are protected computers under 18-U.S.C. § 1030(e)(2).

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i59. Defendant. knowingly and. intentionally accessed Plaintiff's computers. without
authorization or in excess of authorization:

160. Defendant renioved confidential and valuable PetteChoice information from
PetroChoice’s computers. without authorization or in excess: of authorization. This information
included, but was not limited to, confidential price and program information; information
concerning chemical companies distributed by PetroChoice; ‘information concerning
PetroChoice’s financial condition and performance, such as profit-loss statements and historical
sales data; customer lists and customer relationship management data: and PetroChoice’s
methods and ptocedures for carrying out its chemical distribution business.

161. Defendant knowingly, willfully, and with intent to defraud, accessed
PetroChoice’s protected computer networks without authorization or in excess of authorization
in order to compete with PetroChoice. Upon information and belief, Defendant took such actions
for his benefit and provided the stolen confidential information to JWT for its benefit.

162. Defendant’s conduct has caused.a loss to PetroChoice in excess of $5,000 during
a 12-month period.

163. PetroChoice has been damaged by Defendant’s actions, including the loss of at
least one large account and potential contracts due to the unfair competition and being forced to
expend resources to: investigate the unauthorized access and abuse of its computer equipment.
PetroChoice seéks compensatory and other equitable relief under 18 U.S.C. § 1030(g). in an
amount to-be proven at trial,

164.. PetroChoice has suffered irreparable and incalculable. harm and injuries resulting

from Defendant’s conduct, which harm will continue unless the Defendant is required to return.

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and be enjoined from. further use of PetroChoice’s confidential information to wrongfully
compete with PetroChoice. PetroChoice has no adequate remedy at law.

COUNT IV
Breach of Contract - Management Equity Agreement

165. Plaintiff adopts and incorporates by reference the allegations set forth in the
preceding paragraphs above as if completely and fully set forth herein.

166. On or about April 11, 2016, Defendant signed and executed a Management Equity
Agreement with Stryker.

167. PetroChoice, as subsidiary of Stryker and third-party beneficiary to the
Management Equity Agreement, has proper standing to seeking all relief permissible for
Plaintiff's breaches of the agreement.

168. In Section 6 of the Management Equity Agreement, Defendant agreed to certain
restrictive covenants that were intentionally and deliberately breached by his actions.

169. Specifically, through his unlawful actions, Defendant breached Sections 6.4.
(Confidentiality), 6.b. (Noncompete), 6.c. (Nonsolicitation ‘and Noninterference), 6.d:
(Nondisparagement), and 6.f. (Return of Company: Property). by interfering with PetroChoice’s
relationship. with JWT, which was not'a competitor prior to Defendant's. interferences, accessing
PetroChoice‘s cloud-based network, downloading confidential information and trade secrets as
described infra., and disclosing the confidential information and trade secrets to his current.
employer, and likely others, to PetroChoice’s detriment.

170. Based on information and belief, at all times relevant, Stryker has been in full

compliance with its duties and obligations under the Management Equity Agreement.

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171. As a direct result of Defendant’s wrongdoing, Plaintiff has been damaged in an
amount to be determined at trial, but which cannot be compensated by money alone.

172. Defendant’s actions were committed knowingly, willfully and in conscious
disregard of Plaintiff's rights. Accordingly, Plaintiff is entitled to recover actual and-exemplary
damages in an amount to be determined at trial in addition to injunctive relief.

COUNT V |
Breach of Contract — Separation Agreement and General Release

173. Plaintiff adopts and incorporates by reference the allegations set forth in the
preceding paragraphs above as if completely and fully set forth herein.

174. On or about September 6, 2018, Defendant and Plaintiff signed and executed a
Separation Agreement and General Release,

175. In Sections 9 and 10 of the Separation Agreement and General Release,
Defendant agreed to certain restrictive covenants. that were intentionally and deliberately.
breached by his actions.

176. Specifically, Defendant breached Section 9 (Return of Property and No Access to
Systems) and Section 10 (Confidentiality, Non-Compete.. Non-Solicitation, and Non-
Disparagement) through his access to confidential information and trade secrets contained on
PetroChoice’s cloud-based network and then disseminating the information to his current
employer, and likely others, to-PetroChoice’s detriment.

177. At all times relevant, Plaintiff has been in full compliance with its duties and
obligations under the Separation Agreement and General Release.

178. As a direct result of Defendant’s wrongdoing, Plaintiff has been damaged in an

amount to be determined at trial, but which cannot be compensated by ‘money alone.

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179. Detendant’s .actions. were committed knowingly, willfully and in conscious
disregard of Plaintiff's rights. Accordingly, Plaintiff is entitled.to recover actual and exemplary
damages in an amount to be determined at trial, in addition to injunctive relief,

COUNT.-VI
Breach of Contract — Consulting Agreement

i80. Plaintiff adopts and incorporates by reference the allegations set forth in the
preceding paragraphs above as if completely and fully set forth herein.

181. On or about September 6, 2018, Defendant and Plaintiff signed and executed a

Consulting Agreement, which was included as Exhibit A to the Separation and General Release

Agreement.

182: Defendant owed a duty to Plaintiff to abide by the implied covenant of good faith
and fair dealing which, by operation of law, is embodied in the Consulting Agreement,

183. Through the course of conduct previously: alleged, Defendant breached the

covenant of good faith and fair dealing in numerous instances, including. but not limited to using

his position as consultant to retrieve confidential information and trade secrets for his own
benefit and the benefit of his current employer, IWT. and to the detriment of PetroChoice.

Defendant’s actions have, among other things, deprived PetroChoice of its rights and benefits

under the Consulting Agreement and are contrary to the spirit and intent of the Consulting

Agreement.

184, At ail times relevant, Plaintiff has. been in full compliance with its duties and
obligations under the Consulting Agreement..

185. As a direct result of Defendant’s wrongdoing, Plaintiff has been damaged in an

amount to be determined at trial, but which cannot be.compensated by money alone.

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186. Defendant’s actions were committed knowingly, willfully, and in conscious
disregard of Plaintiff's rights. Accordingly, Plaintiff is entitled to recover actual damages in an
amount-to be determined at trial in addition to injunctive relief.

COUNT VII
Breach of the Duty of Loyalty.

187. Plaintiff adopts and incorporates by reference the allegations. set. forth in the
preceding paragraphs above as if completely and fully set forth herein.

188. Defendant, as an executive officer, shareholder, and independent consultant of
PetroChoice,owed a duty of loyalty to PetroChoice.

189. Defendant breached his duties of loyalty to. PetroChoice by (1) misleading
PetroChoice during the negotiation and sale. of PetroChoice’s North Eastern Equipment Services
Division, while working for PetroChoice. and by using PetroChoice resources and information;
(2) while still employed by PetroChoice,. usurping business opportunities that PetroChoice had
actual and expected interests in, away from PetroChoice; and (3) while acting’as an-independent
consultant for PetroChoice, stealing PetroChoice’s confidential and proprietary information and
trade secrets for the benefit of himself and JWT, with whom he had accepted future employment;
among other facts alleged in this complaint.

190. As a direct result of Defendant’s wrongdoing, Plaintiff has been damaged. in an
amount to be determined at trial, but which cannot be compensated by money alone.

191. Defendant’s actions were committed knowingly, willfully and in conscious
disregard of Plaintiff's rights.. Accordingly, Plaintiff is entitled to recover actual damages in an

amount to be determined at trial in addition to injunctive relief.

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COUNT VII
Tortious Interference with Contract

192. Plaintiff adopts and incorporates by reference: the allegations set forth in the
preceding paragraphs above as if completely and fully set forth herein.

193. PetroChoice has had a longstanding business relationship with JWT whereby
PetroChoice provided JWT with lubricants. Upon the divesture of the ‘ESD, PetroChoice
contractually agreed to retain equipment services from JWT and JWT agreed to purchase

lubricants from PeétroChoice because JWT and PetroChoice historically were never competitors.

as JWT did not have a chemicals division.

194, Defendant, as an employee and Jater as an independent consultant, was aware of
the business relationship and contracts between PetroChoice and. JWT.

195. Defendant, as an employee and later as an independent contractor, was aware of
the business relationships between: PetroChoice-and its customers;

196. Defendant has intentionally, purposefully, and wrongfully interfered with

PetroChoice’s contracts with its customers, including with Kennedy and the many dealerships

within that account, with the ‘specific. intent to harm PetroChoice’s existing relationship with

those customers.
197. Defendant’s intentional and wrongful acts of interfering ‘in PetroChoice’s
contracts described herein.on his own behalf and on behalf of JWT were without justification.
198. As a direct result of Defendant’s wrongdoing, Plaintiff has suffered actual
damages in an amount to be determined at trial, but which cannot’ be. compensated by money

alone.

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199. Defendant’s actions were committed knowingly, willfully and in conscious
disregard. of Plaintiff's rights. Accordingly, Plaintiff is entitled to recover actual and exemplary
damages.in.an amount to be determined at trial.

COUNT IX
Intentional Interference with Prospective Contractual Relations

200. Plaintiff adopts. and: incorporates. by reference the allegations set forth in the
preceding paragraphs above as if completely and fully set forth herein,

201. As noted earlier, PetroChoice had a continuing and customary business
relationship. with JWT. As part.of that business relationship, PetroChoice provided lubricants to
JWT. JWT was not in'‘the business of providing lubricants to any other customers.

202, Defendant was aware of PetroChoice’s business relationship with JWT.

203.. Defendant intentionally and improperly interfered with. PétroChoice’s business
relationship with JWT by soliciting JWT as a partner for the purchase of PetroChoice’s
Equipment Division and by misappropriating PetroChoice’s confidential information and trade
secrets to gain an unfair competitive advantage with JWT and cause harm to PetroChoice.

204. Defendant also. intentionally and improperly interfered with PetroChoice’s
business. relationship with its customers by wrongfully soliciting their business for JWT, ail
while wrongfully accessing and utilizing PétroChoice’s trade secrets and confidential
relationships.

205. Defendant used wrongful. means to interfere with PetroChoice’s business
relationships,. which include but are not limited to: (1) working with JWT, and using
PetroChoice’s misappropriated. confidential. information, to extort PetroChoice and threaten to

end the business relationship between JWT and PetroChoice if the Equipment Services Division

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sale did not go through on terms’ more favorable to JWT and Defendant; and (2) using
PetroChoice’s confidential information. and trade secrets that Defendant misappropriated and
described herein to create a new ‘chemicals division at JWT and divert. potential business
opportunities from PetroChoice.

206, Defendant's actions induced or otherwise caused JWT and other PetroChoice
customers to substantially and negatively alter existing continuing and customary and
prospective contractual relations with PetroChoice and prevented PetroChoice from acquiring or
continuing its existing and prospective contractual relations with other chemical clients and
potential clients.

207. Defendant’s interference caused (1) PetroChoice to alter the terms of the sale of
PetroChoice’s Equipment Division so that PetroChoice. would not lose its business relationship
with JWT; (2) JWT to enter the chemical distribution market-in which it previously had not been
engaged, through the use. of PetroChoice’s misappropriated confidential information and trade
secrets; and (3) PetroChoice to lose important business relationships with existing and potential
chemical customers.

208. As a direct result of Defendant’s wrongdoing, Plaintiff has been.damaged in an.
amount to be determined at trial, but which cannot be compensated by money alone.

209. Defendant’s actions were: committed knowingly, willfully and in conscious
disregard. of Plaintiff's rights. Accordingly, Plaintiff is entitled to recover actual and exemplary

damages in ‘an amount to be determined at trial.

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COUNT X
Conversion.

210. Plaintiff adopts. and incorporates by reference the allegations set forth in the
preceding paragraphs.above as if completely and fully set forth herein.

211. PetroChoice’s documents and materials, not just its trade secret and. confidential
information, including but not limited. to those identified ‘in this Complaint, are the property of
PetroChoice.

212. Defendant removed PetroChoice’s documents and materials without any lawful
justification and, upon information and belief, has not returned them.

213. Defendant has deprived PetroChoice of its exclusive rights, use, and possession of
its. property without PetroChoice’s. consent and without lawful justification, which is in specific
violation of the Management Equity Agreement and Separation Agreement and General Release.

214. Asa direct result of Defendant’s wrongdoing, Plaintiff has. been damaged in an
amount to be determined at trial, but which cannot be compensated by money alone.

215. Defendant’s actions were committed knowingly, maliciously, willfully and in
conscious disregard of Plaintiff's rights. Accordingly, Plaintiff is entitled to recover actual and
exemplary damages in an amount to be determined at trial.

COUNT XI
Unjust Enrichment

216. Plaintiff adopts and incorporates by reference the allegations set forth in the
preceding paragraphs above as if completely and fully set forth herein.
217. PétroChoice offered Defendant a severance package, including a.monetary sum

and a one-year consulting agreement, which provided him the opportunity to earn up: to

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$160.416.67, as part of the Separation Agreement. In exchange, Defendant. agreed to. comply
with the restrictive covenants outlined therein and incorporated by reference.

218. Defendant’appreciated the benefits PetroChoice offered him under the Separation,
Agreement and accepted both the monetary amount and consulting agreement.

219. Defendant intentionally breached the Separation Agreemient’s restrictive
covenants but retained the consideration and the monetary amounts paid under the consulting
agreement.

220. Defendant's retention and enjoyment of the severance package, in light. of his
intentional. breaches of the Separation Agreement’s restrictive covenants, frustrate the principles
of equity.

221. It would be inequitable for Defendant to retain the amounts paid. by PetroChoice
without repayment..

222. As a direct result of Defendant’s wrongdoing, he has been unjustly: enriched at
PetroChoice’s expense in an amount to be determined at trial, but which cannot be compensated
by money alone.

223. Defendant’s actions were committed knowingly, maliciously, willfully and in
conscious disregard of Plaintiff's rights. Accordingly, Plaintiff is entitled to recover actual and
exemplary damages in an amount to be determined at trial.

Preliminary and Permanent Injunction

224. Plaintiff adopts and incorporates. by teference the allegations set forth in. the

preceding paragraphs above as if completely and fully set forth herein.

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225. Plaintiff is highly likely to: succeed on its claims that Defendant is using
PetroChoice’s confidential and proprietary information to unfairly and unlawfully compete with.
PetroChoice, and is acting. in direct. contravention of the restrictive covenants.contained in the
employment, equity, and separation agreements.

226. The misappropriation and use. of PetroChoice’s. confidential and proprietary
information to unfairly and unlawfully compete with PetroChoice coristitutes irreparable harm to
PetroChoice.

227. The multiple violations of the applicable agreements as described herein and the
duties they contain also constitute irreparable harm to PetroChoice.

228. The balance of the equities clearly favors Plaintiff: Defendant, both during and
after his tenure as Plaintiff's employee and consultant, took PetroChoice’s property; confidential
and proprietary information; trade secrets; and significantly interfered with PetroChoice’s ability
to utilize its confidential and proprietary information to obtain and keep chemical clients.

229. Defendant is also openly in vidlation of the various. restrictive covenants.
contained in the equity, and separation agreements, including the non-competition provisions.

230: If Defendant continues these. breaches and.does not return PetroChoice’s stolen
trade secrets and. confidential and proprietary information and cease his unlawful competition
with PetroChoice, Plaintiff will continue to suffer irreparable harm.

231. PetroChoice has no adequate remedy at law concerning these specific breaches, a

fact he acknowled ged.in the-employment, equity, and separation agreements,

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232. The injunction will preserve the status quo by preventing Defendant from using.
PetroChoice’s confidential information: and trade secrets to gain an unfair competitive advantage:
over PetroChoice, pending the:outcome of the trial on the merits.

233. The public interést would not be disserved by the issuance of a permanent.
injunction in these circumstances.

234. Plaintiff is entitled to a preliminary and permanent injunction (1) enjoining
‘Defendant ftom continuing to use PetroChoice’s confidential and proprietary information ‘to
unfairly compete. with PetroChoice; (2) requiring Defendant to return all confidential and
proprietary information belonging to PetroChoice; and (3) enjoining Defendant from improperly,
through the use of wrongful means, interfering with PetroChoice’s business relationships with its
customers and usurping PetroChoice’s actual, expected, and customary business relations and/or
opportunities. with its customers.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff ‘demands relief in Plaintiff's favor and against Defendant as

follows:

(a) | Award of damages to Plaintiff in.an amount to be proven at trial caused. by the
‘violation of federal and state trade secret protection statutes, breaches of fiduciary
duties, breaches of the aforementioned agreements, interference with actual and
potential business relations, conversion, and conspiracy to commit the unlawful
acts;

(b). Specific performance. ordered pursuant to the terms of the aforementioned

agreements and in the amount Defendant has been unj ustly enriched;

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(c)  Disgorgement of monies ‘paid to Defendant per the Separation and Consulting
Agreemeént;,

(d) Preliminary and permarient injunction (1) enjoining Defendant from conitinuing:to
use PetroChoice’s ‘confidential and proprietary information'to unfairly compete
with PetroChoice; (2) requiring Defendant to return all confidential and
proprietary. information belonging to PetroChoice; and (3) enjoining Defendant
from improperly, through the use’ of wrongful means, interfering with
PetroChoice’s business. relationships with ifs ‘customers and usurping
PetroChoice’s actual, expected; and customary business relations and/or
Opportinities with its customers;.

(e) | Exemplary damages as pled herein;

(f) Interest, cdsts, expenses, legal and. attorneys’ fees, and. disbursements;. and

(g) Any other relief the Court finds just and proper.

Plaintiff requests a jury trial,

Dated.this 27th day of December, 2019.
Respectfully Submitted,

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